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               IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF DELAWARE

In re:                                               )      Chapter 11
                                                     )
BOY SCOUTS OF AMERICA AND                            )      Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,                                   )
                                                     )      Jointly Administered
                                       1
                              Debtors .              )
                                                     )      Re: Docket No. 1417


               OBJECTION OF TIMOTHY KOSNOFF, ESQUIRE
                AND ANDREW VAN ARSDALE, ESQUIRE TO
                    CENTURY’S MOTION TO COMPEL

         Timothy Kosnoff, Esquire and Andrew Van Arsdale, Esquire hereby submit

this objection (the “Objection”), to Century Indemnity Company’s (“Century”)

Motion to Compel the Depositions of Timothy Kosnoff and Andrew Van Arsdale or

in the Alternative to Adjourn the Hearing on the Pending 2019 Motions [Docket No.

1471] (the Motion”). In support of the Objection, Messrs. Kosnoff and Van Arsdale

(the “Objectors”) respectfully submit the following:

                             PRELIMINARY STATEMENT

         1.    Mr. Kosnoff addressed the subject of the Motion in his Motion for

Protective Order and to Quash Notice of Deposition [Docket No. 1420] (the “Motion

to Quash”). The Objectors incorporate the Motion to Quash herein and will not


1
 The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal
tax identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC
(4311). The Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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repeat all the arguments set forth there. The Motion, however, raises factual

assertions that require correction and legal arguments that are incorrect. The

Objectors respectfully submit this Objection to address those shortcomings.

      2.     Century contends that the Objectors refused to submit to depositions

between the time that the Coalition filed its amended 2019 Statement and the hearing

in this matter scheduled for October 14, 2020. Two crucial facts, however, are

absent from Century’s 17-page Motion. First, Century fails to advise the Court that

the Objectors did, in fact, offer in writing to appear for depositions on dates certain

only to have Century ignore that offer. Second, never in the several-week period in

which the parties were in discussion did Century ever request deposition dates

between the filing of the amended 2019 Statement and the hearing. Indeed, Century

has offered no evidence of such a request, because it never made such a request

before the Objectors withdrew from the Coalition.

      3.     Moreover, the Motion fails to provide the requisite justification for the

drastic measure of deposing counsel that the case law mandates. Neither of the

Objectors are any longer affiliated with the Coalition; neither prepared or executed

the amended 2019 Statement; and neither can offer any information germane to an

issue before the Court that is not privileged, confidential or otherwise protected from

discovery. Therefore, the Objectors respectfully request that the Court deny the

Motion.


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                                   BACKGROUND

      4.       The Objectors’ experience and expertise in representing victims of

child sexual abuse cannot be disputed. They currently represent thousands of men

who were abused at the hands of the Debtors. Century and other insurers bear

indemnification obligations to the Debtors and, ultimately, to Objectors’ clients. As

a result, Century is aggressively litigating this matter in the hopes of reducing or

postponing the enormous payments that it must make. There can be no reasonable

debate, therefore, that the Objectors are counsel opposed to Century in these

proceedings.

      5.       A delay in the Court’s approval of the Coalition’s 2019 Statement

would serve to postpone Century’s day of reckoning.             Indeed, a meaningful

mediation of the victims’ claims cannot occur until all the claimants are properly

represented in settlement negotiations. Century has seized upon the Objectors as an

avenue to effect an open-ended delay of the work that must be done promptly.

      6.       Aware of the urgency that the Debtors’ precarious position necessitates,

the Objectors engaged with Century when it first requested their depositions. Those

discussions were entirely fruitless, because Century refused to provide any guidance

whatsoever as to the subject areas to be covered or the manner in which the glaring

challenges posed by the Objectors’ various privilege and confidentiality obligations.




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       7.     In a spirit of good faith cooperation and to expedite matters, the

Objectors offered on September 22, 2020, to sit for depositions on specified dates

and times with guidelines for the protection of confidential information. Contrary

to Century’s repeated representations to the contrary, the undersigned agreed to

accept service of subpoenas for both deponents. The Objectors’ letter detailing their

proposal was attached to the Motion to Quash as Exhibit B and is provided again

here as Exhibit A. Century did not accept that offer and, in fact, chose not even to

respond to it.

       8.     Given Century’s primary goal of delay, it is perhaps unsurprising that

Century did not move forward as the Objectors proposed. Entirely shocking,

however, is Century’s failure in its candor to the Court by accusing the Objectors of

not submitting to depositions without disclosing to the Court that the Objectors did

agree, in writing, to submit to depositions. The Objectors’ September 22 letter does

not fit Century’s false narrative, of course, so Century chose simply to pretend that

it does not exist.

       9.     Century exacerbates this pattern of obfuscation by disingenuously

complaining that the Objectors never agreed to sit for depositions in the window of

time between the Coalition’s filing of its amended 2019 Statement and the hearing

scheduled for October 14. On its face, that statement is not technically false. What

Century fails to advise the Court, however, is that it did not request dates in that


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window of time. Rather, Century insisted that the depositions should take place no

later than September 30, 2020 without any connection to an amended 2019

Statement. The Objectors offered dates as close to that day as possible. It was only

well after the Objectors’ offer that Century requested for the first time that the

depositions follow the Coalition’s filing of the amended 2019 Statement. Since that

request was accompanied by a suggestion that the October 14 hearing should be

postponed, Century’s true dilatory motivations are plainly revealed.

      10.    All these machinations disguise the fundamental fact that Century’s

selection of the Objectors as their target is, in any event, badly misplaced.          As

Century was aware before it filed the Motion, the Objectors have resigned their

positions with the Coalition. They have had no involvement with the preparation of

the amended 2019 Statement and no longer bear any rights or obligations with

respect to the Coalition’s counsel in these proceedings. The Coalition has made

these truths clear in its amended 2019 Statement [Docket No. 1429]. Accordingly,

the Objectors are not appropriate deponents for current information regarding the

Coalition’s affairs, let alone the only source of such information.

      11.    Even more importantly, the Objectors possess no information regarding

the Coalition’s affairs that is not protected by privilege or confidentiality restrictions.

Century has offered no justification for the invasion of those protections and none




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exists. Century has, therefore, failed to establish any basis upon which it should be

permitted to depose the Objectors.

                                   ARGUMENT

      12.    Even setting aside Century’s egregious delay in bringing the Motion in

contravention of the Court’s admonitions at the September 9 hearing, Century is not

entitled to the drastic measure of deposing opposing counsel as the Motion seeks.

The Objectors represent several thousand claimants whom Century is responsible to

compensate. Century bears the burden of establishing the need for and propriety of

those depositions in order to proceed. It has failed to do so.

      13.    As the Objectors set forth in the Motion to Quash, depositions of

opposing counsel are generally disfavored and are considered a “drastic measure.”

M&R Amusements Corp. v. Blair, 142 FRD 304, 305 (N.D. Ill. 1992); Peerless

Heater Co. v. Mestek, Inc., 2000 WL 151281 (E.D. Pa. 2000). The Court in Lebovic

v. Nigro, 1997 WL 83735, *1 (E.D. Pa 1997) held that a deposition of opposing

counsel is “typically only permitted where a clear need is shown.” Another Court

in a neighboring jurisdiction stated, “Many courts have found that it is appropriate

to grant such an order to prevent the deposition of a party's attorney by an adversary

unless he can show that the information sought is relevant, non-privileged and

critical to the preparation of the case and that there is no other way to obtain the




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information.” Slater v. Liberty Mutual Ins. Co., 1999 WL 46580 (E.D. Pa. 1999) at

*1 (citations omitted).

      14.    Other courts have considered three factors in determining whether an

attorney’s deposition should be permitted:

      (1) the relative quality of information in the attorney's knowledge, that
      is, whether the deposition would be disproportional to the discovering
      party's needs; (2) the availability of the information from other sources
      that are less intrusive into the adversarial process; and (3) the harm to
      the party's representational rights of its attorney if called upon to give
      deposition testimony.

Johnston Development Group, Inc. v. Carpenters Local Union No. 1578, 130 F.R.D.

348, 353 (D.N.J. 1990). See also, Frazier v. SEPTA, 161 FRD 309, 313 (E.D. Pa.

1995).

      15.    Century recites a prolix account of its opinions of the Coalition and its

constituencies. Included is a description of confidential communications among

claimants’ representatives in which differences of opinion are raised and strategic

discussions take place before the Coalition was created.             None of those

communications warrant depositions, because they are entirely irrelevant to any

issue before the Court. Moreover, those discussions are protected by common

interest and other privileges.

      16.    Century makes no attempt to tie that or any of the other topics discussed

in the Motion to any issue before the Court. Much less does Century attempt to

establish any of the factors that courts require when a party seeks to depose opposing
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counsel. After six weeks of interaction, Century provides for the first time in the

Motion an inkling of what the depositions might cover. But Century does not and

cannot articulate any relevant, non-privileged and non-confidential information to

which the Objectors might be able to testify. Neither does Century account for the

fact that the disclosure of the privileged, confidential and otherwise protected

information that the Objectors hold would manifestly harm their clients, other

claimants, the TCC, the Debtors and other creditors if it were disclosed.

                                 CONCLUSION

      17.     Therefore, since Century has offered no justification for the drastic

measure of deposing attorneys who represent parties opposed to it in these

proceedings, the Objectors respectfully request that the Court enter an order denying

the Motion.


Date: October 13, 2020                 WILKS LAW, LLC


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